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                                                                 of 1
                     UNITED STATES DISTRICT COURT           June 7, 2024
                    EASTERN DISTRICT OF CALIFORNIA       CLERK, US DSITRICT COURT
                                                                    EASTERN DISTRICT OF
                                                                        CALIFORNIA


UNITED STATES OF AMERICA,                   Case No. 2:23-mj-00002-JDP

                Plaintiff,

      v.                                            ORDER FOR RELEASE OF
                                                     PERSON IN CUSTODY
ALEXANDER DIONY HLEUKA,

                Defendant.

TO:   UNITED STATES MARSHAL:

      This is to authorize and direct you to release ALEXANDER DIONY HLEUKA

Case No. 2:23-mj-00002-JDP Charges 18 USC § 641 from custody for the

following reasons:

                 x    Release on Personal Recognizance

                      Bail Posted in the Sum of $

                             Unsecured Appearance Bond $

                             Appearance Bond with 10% Deposit

                             Appearance Bond with Surety

                             Corporate Surety Bail Bond

                             (Other): Release forthwith and with terms as stated on
                         x
                             the record.

      Issued at Sacramento, California on June 7, 2024 at 2:15 PM

 Dated: June 7, 2024
